Case 1:20-cv-05212-ENV-CLP                    Document 54           Filed 01/21/25          Page 1 of 18 PageID #:
                                                     881



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 NATHAN TEMPEY,                                               :
                                                              :
                                              Plaintiff,      :
                                                              :
                            -against-                         :
                                                              :              MEMORANDUM & ORDER
                                                              :
 UNITED          STATES           DEPARTMENT               OF :              1:20-CV-5212 (ENV) (SJB)
 HOMELAND SECURITY,                                           :
                                                              x
                                              Defendant.
 ------------------------------------------------------------

 VITALIANO, D.J.

            On August 9, 2018, plaintiff Nathan Tempey, a freelance journalist, filed FOIA requests

 with the Department of Homeland Security (“DHS”) seeking information about the origins of a

 press release related to the first Trump administration’s “policy” to secure the southern border

 through the construction of a physical wall (the “Border Wall”). Following DHS’s redaction of

 certain documents, Tempey filed suit on October 29, 2020, seeking declaratory, injunctive, and

 other appropriate relief to compel the release of agency records. See Compl., ECF No. 1, ¶ 1.

 Before the Court is DHS’s motion for summary judgment and Tempey’s cross-motion for

 summary judgment, both pursuant to Federal Rule of Civil Procedure 56. For the reasons set forth

 below, DHS’s motion for summary judgment is GRANTED, and Tempey’s cross-motion is

 DENIED.1




 1
     Citations to pages of the parties’ briefing refer to the Electronic Case Filing System (“ECF”) pagination.

                                                             1
Case 1:20-cv-05212-ENV-CLP                 Document 54           Filed 01/21/25         Page 2 of 18 PageID #:
                                                  882



                                                   Background2

         On January 25, 2017, President Donald J. Trump, through the Executive Office of the

 President, issued Executive Order 13767, titled “Border Security and Immigration Enforcement

 Improvements.” Def. Rule 56.1 Stmt., ECF No. 39, ¶ 1. The Order stated: “It is the policy of the

 executive branch to: (a) secure the southern border through the immediate construction of a

 physical wall on the southern border, monitored and supported by adequate personnel so as to

 prevent illegal immigration, drug and human trafficking, and acts of terrorism.” Id.

         Over a year later, on February 15, 2018, DHS issued a press release titled, “We Must Secure

 The Border And Build The Wall To Make America Safe Again.” Id. ¶ 2. The Press Release

 provided various statistics to support its central claim that “walls work” when it comes to effective

 border security.3 Facially innocuous, the Press Release went largely ignored for many months. In

 fact, the public may not have given the Press Release a second thought were it not for the work of

 online sleuths, who in June 2018 advanced claims that they had discovered white supremacist

 slogans embedded in its title and text. Id. ¶ 3.

         For example, articles from June 2018 reported that the title of the Press Release resembled

 the length and syntactical structure of a common white supremacist slogan known as “The 14

 Words”—“We Must Secure The Existence Of Our People And A Future For White Children.”

 Tempey Decl., ECF No. 36, ¶ 4; see Luke O’Neil, Is the DHS Smuggling White Supremacist Codes

 Into Government Press Releases, MEDIUM (Jun. 29, 2018), https://medium.com/@lukeoneil47/is-

 the-dhs-smuggling-white-supremacist-codes-into-government-press-releases-3f82a1b4d51a;




 2
   The facts are drawn from the pleadings and the submissions of the parties on their cross-motions, including
 statements of undisputed material facts made pursuant to Local Civil Rule 56.1, as well as the Press Release itself.
 3
  Press Release (U.S. Dep’t of Homeland Security Feb. 15, 2018),
 https://www.dhs.gov/archive/news/2018/02/15/we-must-secure-border-and-build-wall-make-america-safe-again.

                                                          2
Case 1:20-cv-05212-ENV-CLP                Document 54           Filed 01/21/25         Page 3 of 18 PageID #:
                                                 883



 Chauncey Devega, Did Trump administration send a coded signal to neo-Nazis? Maybe not – but

 is that reassuring?, SALON (July 6, 2018), https://www.salon.com/2018/07/06/did-trump-

 administration-send-a-coded-signal-to-neo-nazis-maybe-not-but-is-that-reassuring/. Articles also

 flagged that instead of using percentages or round number denominators like 10 or 100, the Press

 Release curiously used 88 as a denominator, which was a possible reference to a popular white

 supremacist symbol standing for “Heil Hitler.”4 See Aviya Kushner, Are ‘14’ and ‘88’ Nazi Dog

 Whistles In Border Security Document – Or Just Numbers?, FORWARD (Jun. 28, 2018),

 https://forward.com/culture/404371/are-14-and-88-nazi-dog-whistles-in-this-homeland-security-

 document-or-just/.

         Based on his perception of the similarities between the content of the Press Release and

 President Trump’s speeches and policies, Tempey believed that the White House either drafted or

 helped to draft the Press Release. Tempey Decl. ¶ 5. For that reason, on August 9, 2018, Tempey

 filed FOIA requests with DHS seeking more information about the origins of the Press Release.

 Def. Rule 56.1 Stmt. ¶ 5. As drafted, his request sought records concerning four categories of

 information: (1) “All documentation used in formulating the press release, including program

 announcements, records generated at meetings, events, press conferences and/or interviews, and

 any other significant documentation used in formulating the release; (2) Background material

 including background papers, news clippings, documents on program activities, reports on

 program and policy developments, news releases, fact sheets, and other reference material used in

 formulating the press release; (3) All messages from senior leadership of the public affairs office

 to public affairs employees announcing new policies and revisions to existing policies from



 4
   According to the Anti-Defamation League, 88 is a white supremacist numerical code for ‘Heil Hitler” because H is
 the eighth letter of the alphabet, and so 88 is a shorthand for HH, or “Heil Hitler.” See
 https://www.adl.org/resources/hate-symbol/88.

                                                         3
Case 1:20-cv-05212-ENV-CLP              Document 54     Filed 01/21/25      Page 4 of 18 PageID #:
                                               884



 January 1, 2018 to the present; and (4) All correspondence between public affairs employees and

 reporters regarding the press release dated February 15, 2018.” Id. ¶ 6.

         DHS had already commenced a search for responsive records when plaintiff submitted his

 FOIA request, as the Press Release was, unsurprisingly given the public speculation, the subject

 of numerous prior requests. Id. ¶ 8. On March 27, 2020, DHS responded by directing plaintiff to

 a publicly accessible website, the DHS FOIA library, which contained 24 pages of responsive

 material.   Id. ¶¶ 10–11.       Believing that DHS’s response was inadequate, plaintiff filed an

 administrative appeal on April 7, 2020. Id. ¶ 12. On July 15, 2020, the Administrative Law Judge

 issued a final decision on plaintiff’s appeal and provided him the right to seek judicial review in

 the district court. Id. ¶ 13.

         Plaintiff filed the operative Complaint in this action on November 12, 2020. Id. ¶ 14. After

 negotiating with plaintiff to identify mutually acceptable search terms, DHS conducted an

 expanded search for documents. Id. ¶ 16. The expanded search spanned the extended period of

 January 1, 2018, to September 1, 2018, and included a search of the email records of 180 senior

 personnel in the Offices of Policy, Public Affairs, and Congressional Relations. Id. On March 17,

 2022, DHS released 236 pages of materials to plaintiff and indicated that 19 pages had been sent

 to another agency for consultation. Id. ¶ 17. DHS redacted portions of the released documents

 pursuant to FOIA Exemptions 5 and 6. Id. On August 3, 2022, following further agency

 consultation, DHS released the 19 pages that had previously been withheld from the March

 production, redacting again portions of the released materials pursuant to Exemptions 5 and 6. Id.

 ¶ 18




                                                   4
Case 1:20-cv-05212-ENV-CLP            Document 54       Filed 01/21/25     Page 5 of 18 PageID #:
                                             885



           Following discovery, defendant moved for summary judgment dismissing this action,

 arguing that its redactions were appropriate under FOIA. Plaintiff cross-moved for summary

 judgment, requesting that the disputed documents be released without redactions.

                                           Legal Standards

           Summary judgment shall be granted in the absence of a genuine dispute as to any material

 fact and upon a showing that the movant is entitled to judgment as a matter of law. Fed. R. Civ.

 P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 2552, 91 L. Ed. 2d

 265 (1986). “[A] fact is material if it ‘might affect the outcome of the suit under the governing

 law.’” Royal Crown Day Care LLC v. Dep’t of Health & Mental Hygiene of N.Y., 746 F.3d 538,

 544 (2d Cir. 2014) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,

 2510, 91 L. Ed. 2d 202 (1986)). A dispute over material facts is “genuine” where “a reasonable

 jury could return a verdict for the nonmoving party” based on the evidence cited. Anderson, 477

 U.S. at 248. In determining whether genuine issues of fact exist, “‘the district court may not

 properly consider the record in piecemeal fashion, trusting innocent explanations for individual

 strands of evidence.’” Moll v. Telesector Res. Grp., Inc., No. 20-cv-3599, 2024 WL 820179, at *4

 (2d Cir. Feb. 28, 2024) (quoting Davis-Garett v. Urban Outfitters, Inc., 921 F.3d 30, 45 (2d Cir.

 2019)).

           FOIA, which is the substantive focal point of this case, “permits any person to request

 records from a government agency, so long as they reasonably describe the record(s) sought and

 comply with other terms of the statute.” Muset v. Ishimaru, 783 F. Supp. 2d 360, 372 (E.D.N.Y.

 2011). As such, FOIA requires United States government agencies to disclose agency records

 upon receiving a properly submitted written request. 5 U.S.C. § 552(a)(3)(A). Courts have

 recognized that FOIA establishes a “strong presumption in favor of disclosure,” Cook v. Nat’l



                                                  5
Case 1:20-cv-05212-ENV-CLP            Document 54        Filed 01/21/25      Page 6 of 18 PageID #:
                                             886



 Archives & Records Admin., 758 F.3d 168, 173 (2d Cir. 2014), but an agency may withhold

 documents responsive to a request if the request falls within one of the nine categories of agency

 records that are exempted from release, as delineated in 5 U.S.C. § 552(b). See Halpern v. Federal

 Bureau of Investigation, 181 F.3d 279, 287 (2d Cir. 1999). Though, even if an exemption applies,

 the FOIA Improvement Act requires the agency to disclose documents unless it “reasonably

 foresees that disclosure would harm an interest protected by the exemption” or that “disclosure is

 prohibited by law.” 5 U.S.C. § 552(a)(8)(A)(i); Seife v. U.S. Food and Drug Admin., 43 F.4th 231,

 234 (2d Cir. 2022).

        Because FOIA cases do not ordinarily involve disputed facts, summary judgment is the

 preferred mechanism for resolving FOIA actions. See, e.g., Zhao v. U.S. Dep’t of State, 320 F.

 Supp.3d 505, 509 (E.D.N.Y. 2018), aff’d, 776 F. Appx. 733 (2d Cir. 2019); Stahl v. U.S. Dep’t of

 Justice, No. 19-cv-4142, 2022 WL 742872, at *3 (E.D.N.Y. Mar. 11, 2022). To obtain summary

 judgment in a FOIA action, the defendant agency must show that it conducted an adequate search

 for responsive records and that any withheld documents fall under a FOIA exemption or exclusion.

 Carney v. U.S. Dep’t of Justice, 19 F.3d 807, 812 (2d Cir. 1994). “While the defending agency

 has the burden of showing that any withheld documents fall within an exemption to FOIA, [courts]

 accord a presumption of good faith to an agency’s affidavits or declarations, such that when an

 agency provides reasonably detailed explanations to support its decision to withhold a document,

 its justification is sufficient if it appears logical and plausible.” Behar v. U.S. Dep’t of Homeland

 Sec., 39 F.4th 81, 88 (2d Cir. 2022) (internal quotations omitted). “Conversely, summary judgment

 in favor of the FOIA plaintiff is appropriate when an agency seeks to protect material which, even

 on the agency’s version of the facts, falls outside the preferred exemption.” Brennan Ctr. for Just.




                                                  6
Case 1:20-cv-05212-ENV-CLP              Document 54       Filed 01/21/25      Page 7 of 18 PageID #:
                                               887



 at N.Y. Univ. Sch. Of L. v. Dep’t of Homeland Sec., 331 F. Supp. 3d 74, 83 (S.D.N.Y. Aug. 3,

 2018) (internal quotations omitted).

        The Court is also mindful that, where the Second Circuit has not addressed a specific FOIA

 issue, it often turns to the D.C. Circuit for guidance. See, e.g., Main St. Legal Servs., Inc. v. Nat’l

 Sec. Council, 962 F. Supp. 2d 472, 474 (E.D.N.Y. 2013); Roman v. Nat’l Sec. Agency, No. 07-cv-

 4502, 2009 WL 303686, at *5 n.3 (E.D.N.Y. Feb. 9, 2009) (“The Second Circuit has evidenced a

 willingness to look at the law of other circuits—particularly the D.C. Circuit—in the area of

 FOIA.”).

                                              Discussion

        Attention is immediately drawn to FOIA Exemption 5, which is one of the authorities upon

 which DHS relies to deny Tempey’s claim. FOIA Exemption 5 shields from disclosure “inter-

 agency or intra-agency memorandums or letters that would not be available by law to a party other

 than an agency in litigation with the agency, provided that the deliberative process privilege shall

 not apply to records created 25 years or more before the date on which the records were requested.”

 5 U.S.C. § 552(b)(5). Courts have interpreted Exemption 5 to encompass traditional common-law

 privileges against disclosure, including the so-called “deliberative process privilege,” which

 shields “documents reflecting advisory opinions, recommendations and deliberations comprising

 part of a process by which governmental decisions and policies are formulated.” Ahmed v. U.S.

 Citizenship and Immigration Servs., No. 11-cv-6230, 2013 WL 27697, at *4 (E.D.N.Y. Jan. 2,

 2013) (quoting Nat’l Council of La Raza v. Dep’t of Justice, 411 F.3d 350, 356 (2d Cir. 2005).

        Specifically, “[t]he deliberative process privilege is designed to promote the quality of

 agency decisions by preserving and encouraging candid discussion between officials.” Nat’l

 Council of La Raza, 411 F.3d at 356. This privilege “rests on the obvious realization that officials



                                                   7
Case 1:20-cv-05212-ENV-CLP           Document 54         Filed 01/21/25      Page 8 of 18 PageID #:
                                            888



 will not communicate candidly among themselves if each remark is a potential item of discovery

 and front-page news, and its object is to enhance the quality of agency decisions by protecting

 open and frank discussion among those who make them within the Government.” Dep’t of Interior

 v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8–9 (2001). With a real world understanding

 of the government process, the D.C. Circuit observed that, “[i]n enacting Exemption 5, Congress

 determined that the ‘efficiency of Government would be largely hampered if, with respect to legal

 and policy matters, all Government agencies were prematurely forced to operate in a fishbowl.’”

 Petroleum Info. Corp. v. U.S. Dep’t of Interior, 976 F.2d 1429, 1434 (D.C. Cir. 1992) (quoting S.

 Rep. No. 813, 89th Cong., 1st Sess. 9 (1965)).

        In conformity with its raison d’etre, in order for the deliberative process privilege to apply,

 the document must be “(1) “‘predecisional,’ i.e., ‘prepared in order to assist an agency

 decisionmaker in arriving at his decision,’ and (2) ‘deliberative,’ i.e., ‘actually related to the

 process by which policies are formulated.’” Nat’l Council of La Raza, 411 F.3d at 356 (quoting

 Grand Cent. P’ship v. Cuomo, 166 F.3d 473, 482 (2d Cir. 1999)). “To find that a document is

 predecisional, a court must be able to pinpoint an agency decision or policy to which the document

 contributed, or was intended to contribute.” Brennan Ctr. for Just. At N.Y. Univ. Sch. Of L., 331

 F. Supp. 3d at 93 (citing Heartland All. for Human Needs & Human Rights v. U.S. Dep’t of

 Homeland Sec., 291 F. Supp. 3d 69, 79 (D.D.C. 2018)). Regarding the second prong, “a document

 is deliberative if the materials bear on the formulation or exercise of agency policy-oriented

 judgment.” Id. (citations and quotations omitted).

        With this understanding of the rationale for withholding documents from disclosure,

 Tempey’s unsatisfied FOIA requests, which target different categories of documents, must be

 evaluated. He first challenges DHS’s redactions of communications regarding drafts of the Press



                                                  8
Case 1:20-cv-05212-ENV-CLP            Document 54        Filed 01/21/25      Page 9 of 18 PageID #:
                                             889



 Release pursuant to Exemption 5. These documents include requests such as “let me know of any

 changes” and notes to see “edits below.” Def. Mot., ECF No. 41, at 16. These documents also

 include pages reflecting track changes and internal comments on drafts of the Press Release. Id.

 The Government argues that these materials are predecisional deliberative work product properly

 withheld under FOIA Exemption 5 because the documents “represent DHS’s collaboration with

 other government offices to determine how best to relay to the public how the administration,

 through DHS, intended to ensure border security and its reasoning for favoring a border wall as a

 policy judgment.” Def. Mot. at 17. Further, the government presents a handful of harmful effects

 that would stem from the disclosure of these communications, including that “[d]isclosure of a

 draft release with commentary from assorted government employees would not only inhibit DHS’s

 candor but would also contribute to misinformation as, in draft form, it could contain incomplete

 and/or unverified information.” Id. Plaintiff, for his part, contends that “DHS’s argument that the

 Press Release is predecisional finds no support in FOIA because the decision to build a wall was

 made years before the press release”: for example, by the time the Press Release was issued,

 President Trump had already issued Executive Order 13767, which called for the construction of

 a border wall, and the Customs and Border Protection Agency had already started construction on

 eight prototype barriers. See Pl. Cross-Mot., ECF No. 46, at 14–15.

        Since a court “must be able to pinpoint an agency decision or policy to which a document

 contributed” to find that such document is predecisional, Brennan Ctr. For Just. At N.Y. Univ. Sch.

 of L., 331 F. Supp. 3d at 93, the rub of the dispute is whether the Press Release itself constituted a

 DHS policy within the meaning of FOIA Exemption 5. If not, plaintiff is undoubtedly correct that

 communications related to the Press Release, which post-date the decision to build the Border

 Wall, would not be exempted from FOIA. See Pl. Cross-Mot. at 14 (As a matter of definition,



                                                   9
Case 1:20-cv-05212-ENV-CLP              Document 54          Filed 01/21/25       Page 10 of 18 PageID #:
                                                890



 there can be no dispute that, “‘[a] document is pre-decisional if it precedes, in temporal sequence,

 the decision to which it relates.’”) (quoting Ctr. For Investigative Reporting v. U.S. Customs &

 Border Prot., 436 F. Supp.3d 90, 100 (D.D.C. 2019)).

         As might be expected, according to DHS, the withheld emails plaintiff contests “are

 internal communications containing judgment calls about how to convey to the public” the

 administration’s “reasons for favoring a wall as a policy judgment,” which falls within the ambit

 of Exemption 5 because “‘choices about what rationales, justifications, and limitations to

 provide—and which to leave out—in articulating an important agency decision can involve

 difficult and substantive policy determinations.’” Def. Reply, ECF No. 47, at 8 (quoting Campaign

 Legal Ctr. v. Unite States Dep’t of Just., 34 F.4th 14, 24 (D.C. Cir. 2022)). Plaintiff concedes, at

 least at a high level, that “[d]efendant is correct that documents reflecting judgment calls about

 how to convey an agency decision may be properly withheld,” but insists that “this is only true for

 the ‘document that first communicates a policy decision’ . . . because this initial document may

 ‘shape and sharpen the underlying policy judgment or have direct consequences for ongoing

 agency programs and policies.’” Pl. Reply, ECF No. 48, at 6 (quoting Campaign Legal Ctr., 34

 F.4th at 24)). Thus, according to plaintiff, the documents at issue are not properly withheld because

 “the Press Release was not the first document to communicate the Trump administration’s plan to

 ensure border security” through the construction of the Border Wall. Id.5

         The one bite limitation Tempey seeks to impose on qualifying for Exemption 5 protection

 on documents relating to the communication of government policy to the public offers an overly

 formulaic reading of Campaign Legal Center. True, the literal language of the case states that a


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  On February 21, 2017, for example, DHS issued a document “designed to answer some frequently asked questions
 about how the Department will operationally implement the guidance provided by EO 13767.” Department of
 Homeland Security, Q&A: DHS Implementation of the Executive Order on Border Security and Immigration
 Enforcement, (Feb. 21, 2017).

                                                      10
Case 1:20-cv-05212-ENV-CLP          Document 54        Filed 01/21/25      Page 11 of 18 PageID #:
                                            891



 document that “first communicates a policy decision” may sometimes “embody distinct policy

 determinations,” but nothing in the Court’s reasoning suggests that the timing of the

 communication matters more than its substance in determining whether it results from unique

 policy judgments. Indeed, “difficult and substantive policy determinations” abound in articulating

 “what rationales, justifications, and limitations to provide” in support of an agency determination,

 regardless of how many prior attempts the agency has made to convince the public that its

 judgment is sound. Campaign Legal Center, 34 F.4th at 24.

        Instructively, in Reporters Committee for Freedom of the Press v. Federal Bureau of

 Investigation, the D.C. Circuit extended the deliberative process privilege to emails discussing a

 draft letter from the Director of the FBI to the New York Times defending the FBI’s controversial

 tactic of impersonating members of the press to trick a suspect into revealing his identity. 3 F.4th

 350, 362–64 (D.C. Cir. 2022). In so doing, the circuit court recognized that work product

 “figur[ing] out how to best promote and ensure the continuation” of a policy facing “intense

 congressional and public criticism” involved quintessential internal government discussions that

 the deliberative process privilege is meant to protect. Id. at 363. Just as the FBI in Reporters

 Committee for Freedom of the Press was protected from disclosing the sausage making of its

 public justification of an ongoing controversial policy, the communications at issue here, which

 reflect deliberation regarding how to convince dubious cohorts of the public that the Border Wall

 was and remains the best method to ensure border security, should similarly be protected. That

 the government had previously made overtures to the public about the Border Wall, see Pl. Reply

 at 6, does not alter the fact that consideration of what to include in the Press Release reflected

 policy judgments on “how to best promote and ensure the continuation” of its preferred policy.




                                                 11
Case 1:20-cv-05212-ENV-CLP                 Document 54           Filed 01/21/25         Page 12 of 18 PageID #:
                                                   892



         The Second Circuit has not squarely addressed the issue, but a handful of district courts

 within the Circuit have concluded that governmental discussions about how to best communicate

 important policy decisions to the public contain substantive judgments that can bring such

 communications within the deliberative process privilege. In Seife, for example, the district court

 considered whether the deliberative process privilege could apply to communications regarding

 the scheduling of press events and the substance of the message to be communicated to the press

 during those events. 298 F. Supp. 3d at 614–17. The court rejected plaintiff’s request to

 categorically exempt such documents from the deliberative process privilege, reasoning that

 “[e]ven when an underlying decision or policy has already been established by the agency, the

 decision of how, and to what extent, to convey that policy to the public may require input from

 many working components within the agency, or even an analysis of the underlying policy itself.”

 Id. at 616. Moreover, the court in Seife was concerned that “a rule categorically exempting such

 decisions from the deliberative process privilege would force agencies to prematurely operate in a

 fishbowl.” Id. at 616 (internal quotations omitted).6 Similarly, the court in New York v. United

 States Department of Commerce considered drafts of an inter-agency letter defending an agency

 policy and held that “messaging” communications of this sort can be protected by the deliberative

 process privilege because such communications “involve substantive policymaking (or at least

 substantive policy refinement) of the type Congress has delegated to the agency.” No. 18-cv-2921,

 2018 WL 4853891, at *2–3 (S.D.N.Y. Oct. 5, 2018).




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   Ultimately, the court in Seife refused to allow the State Department to withhold emails related to the press events
 because the court was not provided with “information describing . . . whether the communications involved
 recommendations for consideration in the deliberative process, such as suggestions made by junior officials to senior
 officials or decision-makers within the agency.” 298 F. Supp.3d at 619. Thus, “the Court c[ould] not determine that
 the emails [were] deliberative in nature and subject to the privilege.” Id. Here, by contrast, the withheld
 communications discuss edits to the Press Release, which by their nature involve recommendations and suggestions
 for consideration.

                                                         12
Case 1:20-cv-05212-ENV-CLP                   Document 54            Filed 01/21/25           Page 13 of 18 PageID #:
                                                     893



          Here, in the contested debate over how best to secure the southern border—a debate DHS

 was, at the time, delegated authority to resolve—DHS’s deliberation over which factors to

 emphasize to convince the public of the ongoing necessity of constructing the Border Wall

 “amount[s] to . . . more than deliberations over how to spin a prior decision”; instead, it is a

 “messaging decision” of the type that “Congress has asked the agency to make.” Id. at *3. On

 these facts and this understanding of the law, defendant’s motion on Tempey’s challenge to the

 redaction of pre-Press Release communications pursuant to FOIA Exemption 5 is granted, and

 plaintiff’s cross-motion is denied.7

          The Exemption 5 analysis does not end there, however. DHS also made redactions to two

 documents post-dating the issuance of the Press Release, the contents of which “involve how to

 best address the concerns raised by the Press Release and whether further action should be taken,

 such as potentially removing the Press Release from DHS’s website.” Def. Mot. at 18. For

 example, in an email thread instigated when DHS forwarded internally an email from a member

 of the public expressing concern about the language used in the Press Release, the government

 redacted discussion “among DHS offices regarding how to address the concern raised and which

 leadership within various DHS sections to alert to the matter.” Id. The government argues these




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   Plaintiff also argues that DHS failed to comply with FOIA’s segregability requirement by redacting entire pages of
 documents, including all drafts of and comments on the Press Release. See Pl. Cross-Mot at 17–18. Plaintiff states
 that “[i]t is clear from the final version of the Press Release that the drafts contain a list of facts supporting the Trump
 administration’s decision to build the wall,” and “factual materials that do not reflect an agency’s deliberations are not
 covered by the deliberative process privilege.” Id. at 18. Thus, “[b]ecause the drafts that DHS withheld contain
 factual, segregable material that does not reflect the agency’s decision making, DHS has failed to meet its burden
 under FOIA.” Id. While agencies are obligated to differentiate between exempt information and that which can be
 disclosed within any given document, the “evolution of the draft” is part of the agency’s deliberative process.
 Shinnecock Indian Nation v. Kempthorne, 652 F. Supp.2d 345, 371 (E.D.N.Y. 2009). DHS’s representation that it
 has complied with the segregability requirement is entitled to a presumption of good faith, see Rutigliano v. U.S. Dep’t
 of Just., No. 2:17-cv-6360, 2020 WL 1933638 (E.D.N.Y. Apr. 20, 2020), and plaintiff does not provide the Court with
 any evidence that DHS could have disclosed additional facts without exposing the deliberative process within the
 agency.

                                                             13
Case 1:20-cv-05212-ENV-CLP          Document 54        Filed 01/21/25      Page 14 of 18 PageID #:
                                            894



 communications reflect policy-level judgments that should be protected by the deliberative process

 privilege. Def. Reply at 10.

         Case law supports the government’s argument that these communications should be

 exempted from FOIA productions. In Protect Democracy Project v. United States Department of

 Defense, the district court held that talking points drafted to assist the executive department in

 responding to media inquiries related to an airstrike in Syria was protected by Exemption 5, as

 “courts have generally found that documents created in anticipation of press inquiries are protected

 even if crafted after the underlying event about which the press might inquire.” 320 F. Supp. 3d

 162, 177 (D.D.C. 2018). Indeed, communications “can fairly be categorized as predecisional”

 where they were “drafted before and in preparation for communications with the press and public”

 and deliberative where, as here, they “focus on how to best respond to questions on these topics

 from the defendant’s perspective.” Am. Ctr. For Law and Justice v. U.S. Dep’t of Just., 334 F.

 Supp. 3d 13, 21 (D.D.C. 2018) (protecting communications strategizing response to leaked

 meeting between Attorney General Loretta Lynch and former President Bill Clinton that generated

 significant public interest).

         Tempey agrees that “Exemption 5 may apply to communications regarding an agency’s

 potential response” to press inquiries regarding one of its policies, but he tries to limit the

 application of Exemption 5 here by arguing that “the Press Release underlying the discussions is

 neither deliberative nor pre-decisional.” Pl. Reply at 7–8. In sum and substance, Tempey argues

 that Exemption 5 cannot apply to what he labels the government’s strategic public relations

 deliberations post-dating the issuance of the Press Release because the Press Release itself does

 not constitute a policy whose deliberative communications deserve protection.            Given its

 conclusion that the Press Release is an agency policy within the meaning of FOIA Exemption 5,



                                                 14
Case 1:20-cv-05212-ENV-CLP                  Document 54            Filed 01/21/25          Page 15 of 18 PageID #:
                                                    895



 see supra, the Court agrees with the government that communications reflecting how to respond

 to public concern regarding that policy is similarly protected from disclosure by Exemption 5. As

 a consequence, with respect to the two documents post-dating the issuance of the Press Release

 that are the subject of this FOIA request, the government’s motion for summary judgment under

 Exemption 5 is granted, and plaintiff’s cross-motion for summary judgment is denied.

          That conclusion does not end the analysis, however, as the disclosure shield DHS would

 install to save its documents from release extends beyond Exemption 5. Specifically, DHS also

 redacted email addresses, including domain information, for government personnel from 96

 documents pursuant to FOIA Exemption 6. Def. Mot. at 22. DHS disclosed the names of the

 individuals associated with the redacted email addresses, excepting six individuals who, according

 to DHS, “were not public figures or senior leaders, and were not individuals whose actions,

 decisions, or statements were subjected to press coverage.” Id. at 18. Plaintiff does not challenge

 the withholding of the email addresses and names of the six low-level employees, but, nonetheless,

 “requests that DHS release the title and position of all individuals whose names were redacted.”

 Pl. Cross-Mot. at 20. As a result, the only issue presented for resolution is whether DHS should

 be directed to provide the title and position of the six employees whose names it did not provide

 plaintiff in the FOIA productions it did make in response to Tempey’s requests.8

          FOIA Exemption 6 exempts from disclosure “personnel and medical files and similar files

 the disclosure of which would constitute a clearly unwarranted invasion of personally privacy.” 5

 U.S.C. § 552(b)(6). “Congress’s primary purpose in enacting Exemption 6 was to protect



 8
   In his reply brief, plaintiff notes his entitlement “to the names of the [six] employees,” even though he “initially
 opted to request the mere job titles of the relevant employees as a lesser request for information.” Pl. Reply at 10.
 The Court need not struggle to discern whether Tempey’s equivocal language in his reply is a request for such
 information since his opening papers did not squarely make such a request, and, for that reason, such a request
 would be denied. See, e.g., Gatson v. City of New York, 851 F. Supp. 2d 780, 796 (S.D.N.Y. 2012); Quintero v.
 Rite Aid of N.Y., Inc., No. 09-cv-6084, 2011 WL 5529818, at *19 (S.D.N.Y. Nov. 10, 2021).

                                                           15
Case 1:20-cv-05212-ENV-CLP          Document 54        Filed 01/21/25      Page 16 of 18 PageID #:
                                            896



 individuals from the injury and embarrassment that can result from the unnecessary disclosure of

 personal information.” U.S. Dep’t of State v. Washington Post Co., 456 U.S. 595, 599 (1982). In

 deciding whether an agency has properly withheld records pursuant to Exemption 6, the Court first

 determines whether the records are personnel, medical, or similar files. Cook, 758 F.3d at 174.

 The Second Circuit considers a record to be a “similar file” “if it contains personal information

 identifiable to a particular person.” Clevenger v. U.S. Dep’t of Just., No. 18-cv-1568, 2020 WL

 1846565, at *11 (E.D.N.Y. Apr. 3, 2020). “Similar files” include “bits of personal information,

 such as names and addresses, the release of which would create a palpable threat to privacy.”

 Telematch, Inc. v. U.S. Dep’t of Agric., 45 F.4th 343, 351 (D.D.C. 2022). If a court determines

 that a record falls within the ambit of Exemption 6, the court must then balance the public need

 for the information against the individual’s privacy interest to determine whether disclosure would

 constitute a clearly unwarranted invasion of privacy. Clevenger, 2020 WL 1846565, at *10.

        Balancing the public and privacy interests “requires another two-step process to determine

 first whether disclosure would compromise a substantial, as opposed to de minimis, privacy

 interest,” and “[i]f no significant privacy interest is implicated, FOIA demands disclosure.”

 American Oversight v. U.S. Gen. Servs. Admin., 311 F. Supp.3d 327, 345 (D.D.C. 2018) (cleaned

 up). If a substantial privacy interest does exist, the court then is left to “address the question

 whether the public interest in disclosure outweighs the individual privacy concerns.” Id. “The

 privacy side of the balancing test is broad and encompasses all interests involving the individual’s

 control of information concerning his or her person.” Wood, 432 F.3d at 88.

        Importantly, Exemption 6 “does not categorically exempt individuals’ identities because

 the privacy interest at stake may vary depending on the context in which it is asserted.” Am.

 Oversight, 311 F. Supp.3d at 346. “Whether disclosure of an individual’s name is a significant or



                                                 16
Case 1:20-cv-05212-ENV-CLP                 Document 54           Filed 01/21/25         Page 17 of 18 PageID #:
                                                   897



 a de minimis threat to privacy depends on the characteristic(s) revealed by virtue of being on the

 particular list, and the consequences likely to ensue.” Id. (quotations omitted).

          The Court agrees with defendant that “[b]eing identified [as] a potential actor in a story

 alleging government alignment with white supremacist rhetoric would subject this person to the

 possibility of harassment and great distress.” Def. Mot. at 24. Thus, disclosure of the job title of

 an employee who participated in drafting the Press Release, which can be easily cross-refenced to

 determine that employee’s name, clearly represents a significant threat to privacy. At the same

 time, the Court does not see a substantial public interest in knowing where on an organizational

 chart lower-level employees sit that warrants intruding on their legitimate privacy interests. This

 conclusion is consistent with the guidance from well-reasoned precedent that a high rank and

 senior leadership role weighs in favor of disclosure of personal information, while staff level

 positions do not. See BuzzFeed Inc. v. U.S. Dep’t of Just., No. 21-cv-7533, 2022 WL 2223124, at

 *4 (S.D.N.Y. June 21, 2022) (“Courts have drawn distinctions between political appointees or

 senior managers and mere staff-level career civil servants.”); accord Wood, 432 F.3d at 88.9

 Tempey obliquely suggests that disclosure is warranted because the agency did not explain “the

 positions in the chain of command of the parties to the documents,” Pl. Cross-Mot. at 20, but

 agencies are only required to disclose relative positions in the agency’s “chain of command” to

 determine whether a document reflects policy determinations—an Exemption 5 inquiry that has

 no bearing on an individual’s privacy rights in connection with Exemption 6. See Def. Reply at

 12 (citing Citizens for Responsibility & Ethics, 583 F. Supp. 2d at 157). Given the strong privacy

 interests and lack of a compelling public interest in disclosure, the government’s motion for


 9
   Consistent with the lesser public interest courts recognize in the identities of lower-level employees, one of the
 individuals whose identity has been protected here responded to an email relaying concerns about the Press Release
 that the issue was “above [his] paygrade” and forwarded the email to a senior employee whose identity has already
 been disclosed to Tempey. See Def. Mot. at 23–24.

                                                          17
Case 1:20-cv-05212-ENV-CLP          Document 54        Filed 01/21/25     Page 18 of 18 PageID #:
                                            898



 summary judgment based on Exemption 6 is granted, and Tempey’s cross-motion to compel the

 release of the job titles of the employees who participated in drafting the Press Release and whose

 names DHS has withheld is denied.

                                            Conclusion

        For the foregoing reasons, defendant’s motion for summary judgment is granted, and

 plaintiff’s cross-motion is denied. The Clerk of Court is directed to enter judgment accordingly

 and to close this case.




 So Ordered.

 Dated: Brooklyn, New York
        January 21, 2025




                                                         /s/ Eric N. Vitaliano
                                                         ERIC N. VITALIANO
                                                         United States District Judge




                                                 18
